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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 DENNIS BURBACK, KEN EDDY and                     §
 MARK ANDERSEN,                                   §
                                                  §
         Plaintiffs,                              §
                                                  §
 v.                                               §           Civil Action No. 4:20-CV-946-SDJ
                                                  §
 ROBERT OBLON, JORDAN BROCK,                      §           JURY TRIAL DEMANDED
 JEFF BOLLINGER, JOHN THATCH,                     §
 FOUROCEANS GLOBAL, LLC, FOUR                     §
 OCEANS HOLDING, INC., ALCHEMIST                  §
 HOLDINGS, LLC, ELEPRENEURS U.S.,                 §
 LLC, ELEVACITY U.S., LLC, SHARING                §
 SERVICES GLOBAL CORPORATION,                     §
 CUSTOM TRAVEL HOLDINGS, INC., and                §
 DOES 1-5,                                        §
                                                  §
         Defendants.


      PLAINTIFFS’ RESPONSE TO DEFENDANT THATCH’S MOTION TO DISMISS


        Plaintiffs Dennis Burback, Ken Eddy, and Mark Andersen (collectively, “Plaintiffs”) file

this Response in Opposition to Defendant Thatch’s Motion to Dismiss [Dkt. 19] (“Motion”) and

respectfully request the Court to deny the Motion in its entirety.




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                                      INTRODUCTION

       The issue presented in the motion presented is whether Plaintiffs’ detailed allegations

sufficiently apprise Defendant John Thatch (“Thatch”) of the allegations against him and put

him on notice of the basis for the claims asserted such that he is able to marshal an appropriate

defense.

       In deciding the Motion, the question is not whether Plaintiffs will ultimately prevail at

trial, but whether, assuming all the allegations – and all inferences that properly may be drawn

the allegations – are true, those allegations and inferences sufficiently apprise Thatch of the

nature of Plaintiffs’ claims against him and support a right to relief that is more than purely

speculative.

       Thatch conflates Plaintiffs’ allegations, cherry-picks and reads them out of context, or

flatly ignores them in order to force his arguments within the confines of what he contends are

relevant authorities. A plain reading of the Complaint in light of applicable law makes clear that

Thatch fails to meet his burden and the Motion should be denied.

       The Complaint’s fraud and fraud-based allegations are neither speculative, conclusory,

nor a formulaic recitation of the elements of their causes of action. Instead, they are well-

pleaded claims for relief that not only are plausible on their face but further satisfy the

heightened pleading requirements for fraud claims, which are largely directed to Thatch’s

actionable silence, omissions, and non-disclosures. Denial of the Motion is particularly

warranted when the well-pleaded facts – and all inferences drawn from those facts – are viewed

in a light most favorable to Plaintiffs. Taking the well-pleaded facts alleged in the Complaint

as admitted, Plaintiffs have sufficiently pled their claims against Thatch in accordance with both

Rules 9(b) and 12(b)(6), and the Motion should be denied.



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                          RESPONSE TO STATEMENT OF ISSUES 1
    •   The Complaint sufficiently alleges facts—which must be accepted as true and all inferences
        drawn from those facts viewed in a light most favorable to Plaintiffs—to state fraud and
        fraud-based claims against Thatch in accordance with Rule 9 and Rule 12(b)(6) standards,
        and decisional authorities.

                                  FACTUAL BACKGROUND

        While the core of this case is relatively straightforward, its explanation requires description

of the actions of multiple players – both individuals and corporate entities – whose fraudulent

actions and conduct, including their actionable silence, omissions and non-disclosures, and their

efforts to fraudulently conceal their conduct, have stretched over several years, making the

unwinding of these alleged transactions and the relationships among the individual and corporate

defendants challenging for pleading purposes. Nevertheless, the case is one primarily sounding in

fraud involving certain securities-related transactions.

        Plaintiffs, who were unsophisticated investors 2, have alleged factual matters and causes of

action in great detail for several species of fraud, including federal causes of action for securities

fraud, as well as Texas-based causes of action for statutory fraud, common law fraud, fraud by

non-disclosure, breach of fiduciary duty, unjust enrichment, fraud-related claims of civil

conspiracy, aiding and abetting, and unjust enrichment, among others. 3


1
  Thatch’s Motion fails to provide a separate statement of the issues to be decided by the Court.
See L.R. CV-7(a)(1) (“Case dispositive motions shall contain a statement of the issues to be
decided by the court.”). Despite this, and in an effort to comply with L.R. CV-7, Plaintiffs set
forth their response to what they believe to be the issue presented. Additionally, because motions
to dismiss for failure to plead with particularity under Rule 9(b) are treated identically with Rule
12(b)(6) motions to dismiss for failure to state a claim (See, e.g., In re Key Energy Services, Inc.
Sec. Litig., 166 F. Supp. 3d 822, 830 (S.D. Tex. 2016)) the Rule 9(b) and 12(b)(6) standards are
discussed together here.
2
  See Complaint [Dkt 1] (“Compl.”) at ¶¶ 80, 121(a), 137(a), 139(h).
3
  See Compl. at ¶¶ 41-57 (Count 1: ¶¶ 117-132 [10b-5 re PNFS, not including Defendant Thatch]);
57-79 (Count 2 [10b-5, including Thatch re: CSFS]: ¶¶ 133-148); 80-83 (Count 3 [statutory fraud
including Thatch re: CSFS]: ¶¶ 149-162), 83-86 (Count 4 [Common Law fraud including Thatch
re CSFS]: ¶¶163-176); 86-89 (Count 5 [fraud by nondisclosure including Thatch re CSFS]: ¶¶ 177-
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       The Plaintiffs’ fraud claims stem from two separate, but ultimately interrelated, investment

schemes that Plaintiffs’ have described in detail in their Complaint. These are referred to in the

Complaint as: (1) the Promissory Note-Fraud Scheme (“PNFS”), and (2) the CTH Stock-Fraud

Scheme (“CSFS”). 4 A brief summary of the PNFS and CSFS is necessary to demonstrate the

sufficiency of Plaintiffs’ allegations against Thatch and how they are related.

       The PNFS stems from capital certain defendants raised from Plaintiffs in connection with

unregistered transactions for the purchase of promissory-note securities. 5 As discussed throughout

the Complaint, at least Defendants Oblon and Brock (individually and in their representative and

fiduciary capacities), made false, material, misrepresentations and omissions to solicit the

Plaintiffs’ investments in the multilevel marketing company, defendant FourOceans Global LLC

(“FOG”), promising the return of Plaintiffs’ investment, plus revenue shares and equity ownership

in FOG, among other things. 6

       Plaintiffs’ investments were not used for their stated purposes, however, and instead were

fraudulently obtained as part of the PNFS in order for at least Defendants Oblon and Brock to

“cover personal expenses and/or for personal gains, among other things, as well as [to make] Ponzi

payments to other similarly situated investors in FOG (or other failed Oblon ventures) to keep the

PNFS (and other Oblon schemes) afloat.” 7




190); 89-92 (Count 6 [unjust enrichment including Thatch]: ¶¶ 191-197); 92-93 (Count 7 [civil
conspiracy to committee fraud including Thatch]: ¶¶198-204), 93 (Count 8 [Aiding and Abetting
including Thatch]: ¶¶ 205-210); 95-96 (Count 9 [Accounting including Thatch]: ¶¶ 211-13); 96-
97 (Count 10 [Constructive trust including Thatch]: ¶¶214-218); and 97-100 (Count 11 [Breach of
Fiduciary Duty, not including Thatch]:¶¶ 219-225).
4
  See Compl. at ¶¶ 41-71 (describing the PNFS), 72-92 (describing the CSFS); 93-100 (describing
the efforts to cover-up the PNFS).
5
  See Compl. at ¶¶ 41-71.
6
  See Compl. at ¶¶ 45.
7
  See, e.g., Compl. at ¶¶ 59, 63, 121(a, b), 124(a), 127-128, 130(a).
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       Immediately before filing suit, Plaintiffs’ allegations in this regard were independently

confirmed when they received a copy of a demand letter to Defendant Brock confirming that that

others are also claiming to be victims of some or all of these defendants’ similar (if not the same)

investment scams, including multiple, alleged violations of the Securities Exchange Act, as well

as mail and wire fraud in violation of the Racketeer Influenced and Corrupt Organizations Act. 8

       After the PNFS, and unbeknownst to Plaintiffs, FOG and its affiliate or successor in

interest, or at a minimum, the holder of its assets, Four Oceans Holdings, Inc. (“FOHI”), were

acquired by Sharing Services, Inc. (“SSI”). SSI was the predecessor in interest to defendant

Sharing Services Global Corporation (“SHRG”), which is now a publicly traded company. 9

       Following SHRG’s acquisition of FOG, Defendants Oblon, Brock, Thatch, and Bollinger

(in their individual and representative capacities) all engaged in additional acts of fraud by

engaging in (what was described to Plaintiffs as) an insider-trading scheme in order to cover-up

the PNFS and to induce additional investments from Plaintiffs for the purchase of shares in

defendant Custom Travel Holdings, Inc. (“CTH”). 10 Plaintiffs refer to this later series of events

in the Complaint as the CTH Stock Fraud Scheme (“CSFS”), and also as the “plan,” which it was

falsely represented to Plaintiffs as the vehicle to repay Plaintiffs for their initial investments and

to secure their equity ownership interest in what is now the publicly traded defendant SHRG. 11

       Thatch is correct that Plaintiffs do not allege that he was an active participant in the PNFS,

but that does not help his motion. The PNFS began in the spring of 2015 at the direction of at least

Defendants Oblon and Brock, which was well before SHRG acquired FOG (and/or its assets) in



8
  Compl. at ¶¶ 105-106, Ex. N.
9
  See, e.g., Compl. at ¶¶ 31-32, 35-36. For convenience, SSI and SHRG are collectively referred
to as SHRG.
10
   Compl. at ¶¶ 78, 80-82.
11
   See, e.g., Compl. at ¶¶ 13, 72-92.
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October 2017. 12 Plaintiffs went to great lengths to make clear that the Complaint allegations

relating to Thatch were predicated upon his subsequent knowledge of the PNFS while acting in

his individual capacity, as well as an officer, director, and shareholder of SHRG, and that he

participated in efforts to cover up the PNFS (along with his co-conspirators and co-defendants)

with additional, actionable conduct in connection with the CSFS. The Complaint clearly alleges

Thatch learned of and had actual (or at least constructive) knowledge of the PNFS at some time

after SHRG acquired FOG, 13 failed to disclose the fraudulent acts of at least Defendants Oblon

and Brock in connection with the PNFS, 14 and also became an active participant in (and one of the

architects of) the insider-CSFS in an effort to conceal the earlier PNFS and thereby and otherwise

secure additional investments from Plaintiffs’ beginning at least as early as February 2018, if not

sooner. 15

        Thatch is also correct that, unlike the allegations directed to individual Defendants Oblon,

Brock, and Bollinger, Plaintiffs only attribute a handful of overt statements to Thatch. 16 This fact,

too, however, fails to support the Motion.

        Contrary to Thatch’s Motion, the statements attributed to him in the Complaint, while they

were false, material, and actionable in and of themselves, do not form the crux of Plaintiffs’ claims

against him. Thatch’s Motion misses the mark by focusing almost solely on whether the statements

attributed to him are tantamount to actionable misrepresentations, while ignoring what is at the




12
   See Compl. at ¶¶ 19, n.2.
13
   See, e.g., Compl. at ¶¶ 68, 70, 72, 109 (generally), and 146(c)(x).
14
   See n. 12; see also, e.g., Compl. at ¶¶ 92, 110, 137(a), 138, 140(a-c), 141.
15
   Compl. at ¶¶ 30, 72-92. Despite alleging that Thatch had full knowledge of PNFS, and that he
had full knowledge of and was an architect of the “plan” comprising the insider-CNFS, and that
he had a duty to disclose the true facts, Thatch’s Motion fails to address these allegations, which
are presumed as true.
16
   See Compl. at ¶¶ 72-73, 76.
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heart of the case against him: that the statements independently confirm, especially in conjunction

with other facts and inferences therefrom, including statements by his co-conspirators, when

considered as a whole and taken as true, his actual knowledge (or at a minimum, constructive

knowledge) – in his individual capacity and as an officer, director and shareholder of SHRG – of

both the PNFS and the CSFS, and his actionable conduct arising from his silence, omissions, and

nondisclosures in the face of a duty to disclose the true facts to Plaintiffs. 17

        As explained herein, Plaintiffs’ claims against Thatch are more than sufficiently supported

by well-pleaded, specific facts, and are not mere speculation. Thatch’s Motion should be denied.

                              ARGUMENTS AND AUTHORITIES

 I.      Legal Standards.

         A.      The Rule 12(b)(6) standard.

         Rule 12(b)(6) motions are “disfavored and rarely granted.” 18 To survive a 12(b)(6)

 motion, a complaint need only allege sufficient factual matter, accepted as true, to state a claim

 that is plausible on its face. 19 A claim is facially plausible if the complaint pleads factual content

 that allows the court to draw the reasonable inference the defendant is liable for the alleged

 misconduct. 20 This standard asks only that there is more than a sheer possibility the defendant

 acted unlawfully, with all inferences drawn in a light most favorable to the plaintiff. 21 The Rule

 12(b)(6) standard “simply calls for enough fact to raise a reasonable expectation that discovery




17
   See, e.g., Compl. at ¶¶ 70, 92, 99, 100, 140(a-c), 169, 182.
18
   King v. Life School, 809 F. Supp. 2d 572, 578 (N.D. Tex. 2011) (citing Sosa v. Coleman, 646
F.2d 991, 993 (5th Cir. 1981)); see, e.g., Whiddon v. Chase Home Fin., LLC, 666 F. Supp. 2d 681,
686 (E.D. Tex. 2009) (quoting Gregson v. Zurich Am. Ins. Co., 322 F. 3d 883, 885 (5th Cir. 2003))
(“A motion to dismiss under Rule 12(b)(6) is viewed with disfavor and rarely granted.”).
19
   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
20
   Id.
21
   Id.
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 will reveal evidence of the necessary claims or elements.” 22 Even if proof of the alleged facts

 is improbable and recovery on the claims is very remote and unlikely, the complaint may

 proceed. 23 Plaintiffs’ Complaint clears the low bar set by Rule 12(b)(6). 24

        B.        Pleading Requirements for Fraud-Based Claims – The Rule 9(b) Standard.

       Plaintiffs’ fraud claims are subject to the heightened pleading standard imposed by Rule

9(b). 25 Rule 9(b) requires pleadings to “state with particularity the circumstances constituting

fraud.” 26 The general rule is that “Rule 9(b) requires the ‘who, what, when, where, and how’ to be

laid out.” 27 However, “In cases concerning fraudulent misrepresentation and omission of facts,

Rule 9(b) typically requires the claimant to plead the type of facts omitted, the place in which the

omissions should have appeared, and the way in which the omitted facts made the representations

misleading.” 28

       Texas law provides that where a plaintiff alleges fraud by omission—and even though no

affirmative statements were made or alleged—the failure to disclose a material fact which induced

the plaintiffs to continue in a course of conduct may be actionable. 29 Moreover, a party may be

held liable “for the fraudulent misrepresentations of a third party by mere silent acquiescence when




22
   In re S. Scrap Mat. Co., 541 F.3d 584, 587 (5th Cir. 2008) (quoting Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 556 (2007)).
23
   King, 809 F. Supp. 2d at 578 (quoting Twombly, 550 U.S. at 556).
24
   Meza v. Collier, No. A-05-CA-1008-LY, 2007 WL 1655898, at *5 (W.D. Tex. June 5, 2007).
25
   FED. R. CIV. P. 9(b); Encompass Office Sols., Inc. v. Ingenix, Inc., 775 F. Supp. 2d 938, 954
(E.D. Tex. 2011).
26
   FED. R. CIV. P. 9(b).
27
   Shandong Yinguang Chem. Indus. Joint Stock Co. v. Potter, 607 F.3d 1029, 1032 (5th Cir. 2010)
(quoting Benchmark Elecs., Inc. v. JM Huber Corp., 343 F.3d 719, 724 (5th Cir. 2003)).
28
   In re Enron Corp. Sec., Derivative & ""ERISA'' Litig., 490 F. Supp. 2d 784, 789 (S.D. Tex.
2007) (internal citations and quotations omitted); see also Ramirez v. Allstate Vehicle & Prop. Ins.
Co., 7:20-CV-00211, 2020 WL 5806436, at *13 (S.D. Tex. Sept. 29, 2020); In re Key Energy
Services, Inc. Sec. Litig., 166 F. Supp. at 831.
29
   Mora v. Koy, CIV.A. H-12-3211, 2013 WL 2289887, at *3-*4 (S.D. Tex. May 23, 2013).
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he benefitted from the fraud,” and even though he “may not have misrepresented anything to the

Plaintiffs, [he] may be liable for fraud because [he] allegedly participated in the fraudulent

transactions and reaped the benefits. 30

       The particularity required “necessarily differs with the facts of each case,” 31 and is relaxed

in cases like this one “where the alleged fraud occurred over an extended period of time and

consists of numerous acts.” 32 This is also true “where facts relating to the fraud are ‘peculiarly

within the perpetrator's knowledge,’” 33 which provides that the “alleged fraud ‘may be pled on

information and belief, provided the plaintiff sets forth the factual basis for his belief.’” 34 While

the exact pleading requirements of Rule 9(b) are case-specific, there are some essential core

requirements that can be distilled from Fifth Circuit precedent:

       In every case based on fraud, Rule 9(b) requires the plaintiff to allege as to each
       individual defendant the nature of the fraud, some details, a brief sketch of how the
       fraudulent scheme operated, when and where it occurred, and the participants. The
       plaintiff is obligated to distinguish among those they sue and enlighten each
       defendant as to his or her part in the alleged fraud. The plaintiff must also explain
       why the statements or omissions of the defendant were fraudulent. 35

       And “[j]ust as the particularity requirements of Rule 9(b) are dependent on the facts of the

case, they are also dependent on Rule 8.” 36 As stated by the Fifth Circuit: “Rule 9 must be read in

light of the basic pleading philosophy set forth in Rule 8 . . . Thus, although Rule 9(b) calls for

fraud to be pleaded with particularity, the allegations still must be as short, plain, simple, direct




30
   In re Arthur Andersen LLP, 121 S.W.3d 471, 481–82 (Tex. App.—Houston [14th Dist.] 2003,
no pet.)(internal citations omitted).
31
   Tuchman v. DSC Commc’ns Corp., 14 F.3d 1061, 1067-68 (5th Cir. 1994.
32
   Foster v. Bristol-Myers Squibb Co., 587 F. Supp. 2d 805, 821 (E.D. Tex. 2008).
33
   In re Key Energy Services, 166 F. Supp. 3d at 830.
34
   Id.
35
   Hernandez v. Ciba-Geigy Corp. USA, 200 F.R.D. 285, 291 (S.D. Tex. 2001) (internal citations
and quotations omitted.
36
   Id. at 819-20.
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and concise as is reasonable under the circumstances.” 37 Plaintiffs’ fraud-based allegations

directed to Thatch meet the burden imposed by Rules 8 and 9(b).

               1.      Liability for A Party’s Silence or Omission of Material Facts.

       Cases concerning the fraudulent omission or nondisclosure of facts are actionable in a

variety of fraud-related cases, including both federal securities fraud claims brought under Rule

10b-5(b) (according to the language of the statute itself), 38 Texas common law fraud and fraud by

non-disclosure claims, 39 and (3) claims for Texas statutory fraud brought pursuant to TEX. BUS. &

COM. CODE § 27.01(a). 40 Liability for these fraud-based claims may arise from the omission of a

material fact because “the nondisclosure may be as misleading as a positive misrepresentation of

fact where a party has a duty to disclose.” 41

       Whether a duty to disclose exists is a question of law, and the duty is not limited to a

traditional fiduciary relationship as Thatch’s Motion suggests. 42 Texas law makes clear that a duty

to disclose arises under several contexts, several of which are applicable (and have been pled) here:

       A duty to speak arises by operation of law when (1) a confidential or fiduciary
       relationship exists between the parties; or (2) one party learns later that his
       previous affirmative statement was false or misleading; or (3) one party knows
       that the other party is relying on a concealed fact, provided that the concealing
       party also knows that the relying party is ignorant of the concealed fact and does
       not have an equal opportunity to discover the truth; or (4) one party voluntarily
       discloses some but less than all material facts, so that he must disclose the whole

37
   Corwin v. Marney, 788 F.2d 1063, 1068 n.4 (5th Cir. 1986).
38
   Securities and Exchange Commission Rule 10b-5(b) codified at 17 C.F.R. § 240.10b-5(b); see
also McNamara v. Bre-X Minerals Ltd., 57 F. Supp. 2d 396, 403 (E.D. Tex. 1999).
39
   In re Enron Corp. Sec., Derivative & ""ERISA'' Litig., 490 F. Supp. 2d 784, 792 (S.D. Tex.
2007).
40
   In re Enron Corp, 490 F. Supp. 2d at 822.
41
   Mora v. Koy, CIV.A. H-12-3211, 2013 WL 2289887, at *3 (S.D. Tex. May 23, 2013) (internal
Texas citations omitted); see also In re Enron Corp. Sec., Derivative & "ERISA" Litig., 238 F.
Supp. 3d 799, 820 (S.D. Tex. 2017), aff'd sub nom. Lampkin v. UBS Fin. Services, Inc., 925 F.3d
727 (5th Cir. 2019) (“A duty to disclose arises only from ‘a fiduciary or other similar relation of
trust and confidence between [parties]. . .’” (internal citations omitted and emphasis added).
42
   Id. at 4.
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       truth, i.e., all material facts, lest his partial disclosure convey a false impression. 43

       As indicated, pleading in these types of cases “typically requires the claimant to plead the

type of facts omitted, the place in which the omissions should have appeared, and the way in which

the omitted facts made the representations misleading.” 44

        C.      Plaintiffs’ Fraud-Based Claims Against Defendant Thatch are Adequately
                Pled and Satisfy the Standards Set by Rule 12(b)(6) and Rule 9(b).

                1. Plaintiffs’ allegations of federal securities fraud (Count 2).

       Thatch appears to argue that Count 2 of the Complaint (fraud violation of Section 10(b) of

the Securities Exchange Act relating to the CSFS) should be dismissed because, he claims,

Plaintiffs: (1) failed to allege a misstatement or omission of a material fact, (2) inadequately pled

scienter; and (3) inadequately pled reliance and proximate cause (though reliance and proximate

cause are just given passing glance with no argument or authorities). 45

                     a. Plaintiffs’ Complaint is replete with allegations of Thatch’s
                        actionable silence, omissions and nondisclosures.

       Keeping in mind that in omission cases the plaintiff is typically required to only “plead the

type of facts omitted, the place in which the omissions should have appeared, and the way in which

the omitted facts made the representations misleading,” 46 Plaintiffs’ allegations against Thatch

here undeniably meet this threshold. In summary, the Complaint extensively alleges the type of


43
   Union Pac. Res. Group, Inc. v. Rhone-Poulenc, Inc., 247 F.3d 574, 586 (5th Cir. 2001)(emphasis
added); see also Keathley v. Baker, 12-11-00151-CV, 2013 WL 1342524, at *7 (Tex. App.—Tyler
Apr. 3, 2013, no pet.); Lesikar v. Rappeport, 33 S.W.3d 282, 299 (Tex. App.—Texarkana 2000,
pet. denied); World Help v. Leisure Lifestyles, Inc., 977 S.W.2d 662, 670 (Tex. App.—Fort Worth
1998, pet. denied)(internal citations omitted).
44
   In re Enron Corp., 490 F. Supp. 2d at 789.
45
   Motion at 14-15. Thatch’s Motion fails to address the fact that Plaintiffs have alleged, in non-
speculative, non-conclusory recitations of fact, that Thatch has violated the federal securities laws
for scheme liability under Rule 10b-5 (a) and (c), as well as misstatement and omission liability
under Rule 10b-5 (b). See Compl. at ¶¶ 118, 137, 138-140.
46
   In re Enron Corp., 490 F. Supp. 2d at 789.
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facts Thatch omitted, the place in which the omissions should have appeared, and the way in which

the omitted facts made the representations to Plaintiffs by Thatch’s co-conspirators and co-

defendants misleading, as well as establish that: (1) Thatch had actual knowledge of the PNSF,47

(2) Thatch had actual knowledge of the CSFS, 48 (3) that the CSFS was held out to Plaintiffs’ as an

insider-trading scheme, 49 (4) that the PNSF and the CSFS were unlawful and fraudulent, 50 (5) that

Thatch was one of the architects of the CSFS “plan,” 51 (5) that Thatch owed Plaintiffs duties to

disclose true facts, 52 (6) the reasons why Thatch owed Plaintiffs such a duty, 53 and (7) that Thatch

breached those duties by his silence, omission, and nondisclosures for failing to disclose the true

facts to Plaintiffs knowing they were not aware of them and did not have an equal opportunity to

discover the truth due to his and other Defendants’ actions. 54

       Plaintiffs’ allegations go far beyond what is required by Rule 9(b) and conform with Fifth

Circuit precedent setting forth the general guidance for fraud-based pleadings. In other words,

with respect to Thatch, Plaintiffs have alleged, in non-speculative, non-conclusory recitations, “the

nature of the fraud, some details, a brief sketch of how the fraudulent scheme operated, when and

where it occurred, and the participants,” have “distinguish[ed] among those they sue and enlighten

each defendant as to his or her part in the alleged fraud,” and “explain[ed] why the statements or

omissions of the defendant were fraudulent.” 55



47
   See, e.g., Compl. at ¶¶ 68-70, 107, 109, 112, 116, 130(a, c), n. 19, 137(b), 139(a), 146(a), 146
(c)(x)-(xi) and n.20, 146(d).
48
   See, e.g., Compl. at ¶¶ 68-70, 76, 99, 107, 109, 112, 116, 130(a, c), n. 19, 137(b), 139(a), 146(c)
n.20, 146(c)(x)-(xi), 146(d), 184.
49
   See, e.g., Compl. at ¶¶ 73, 82, 137(a).
50
   See, e.g., Compl. at ¶¶ 68, 76, 92, 99, 107, 109, 130(a), 137(b), 139(a), n.20, 146(c)(x).
51
   See, e.g., Compl. at ¶¶ 73, 75, 140(a-c).
52
   See, e.g., Compl. at ¶¶ 70, 92, 99, 100, 109, 140(a-c), 181-183.
53
   See, e.g., Compl. at ¶¶ 70, 92, 99, 100, 109, 140(a-c), 181-183.
54
   See, e.g., Compl. at ¶¶ 92, 110, 137(a), 138, 140(a-c), 141.
55
   Hernandez, 200 F.R.D. at 291 (internal citations and quotations omitted).
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       Further, Thatch’s arguments that Plaintiffs’ allegations relating to Thatch’s knowledge of

the frauds that are predicated upon “information and belief” fall flat. 56 This is because the pleading

standards in this respect are “relaxed” and allow for pleading upon “information in belief” in view

of the fact that fraud alleged by Plaintiffs occurred over an extended period of time consisting of

numerous acts, 57 and because the facts relating to the alleged fraud are “peculiarly within the

perpetrator's knowledge.” 58 Plaintiffs’ allegations more than satisfy the requisite pleading

standards, especially at this pre-discovery stage of the proceedings.

                     b. Plaintiffs have adequately pled scienter.

       “To satisfy the scienter requirement for securities fraud under Rule 10b–5, the plaintiffs

must set forth facts to support an inference that the defendants acted with intent or were severely

reckless.” 59 “A defendant's omissions or misrepresentations are severely reckless, “if they involve

an extreme departure from the standards of ordinary care, and present a danger of misleading

buyers or sellers which is either known to the defendant or is so obvious that the defendant must

have been aware of it.” 60

       Sufficiently pleading scienter may be done in one of three ways: “(1) showing the

defendant's motive and opportunity for perpetrating the fraud (‘motive test’); (2) alleging facts that

constitute strong circumstantial evidence of severe recklessness (‘recklessness test’); or (3)

identifying circumstances that strongly indicate conscious behavior on the part of the defendant

(‘conscious behavior test’).” 61 Moreover,“[a]n inference of fraudulent intent is supported if the




56
   Motion at 12, 15.
57
   See Foster, 587 F. Supp. 2d at 821.
58
   In re Key Energy Services, 166 F. Supp. 3d at 830.
59
   McNamara v. Bre-X Minerals Ltd., 57 F. Supp. 2d 396, 404 (E.D. Tex. 1999).
60
   Id.; see also In re Key Energy Services, 166 F. Supp. 3d at 833.
61
   McNamara, 57 F. Supp. 2d at 405.
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Plaintiffs either ‘(1) show a defendant's motive [and opportunity] to commit securities fraud, or

(2) identify circumstances that indicate conscious behavior on the part of the defendant.’” 62 And

“Circumstantial evidence of such conscious behavior or severe recklessness is sufficient to support

a strong inference of scienter.” 63

        Plaintiffs’ Complaint sets forth specific allegations of scienter generally (for facts common

to each defendant) and specifically for each defendant, including Thatch. 64 Plaintiffs have alleged

that defendants “had a motive to operate and benefit from the operation of the CTH Stock-fraud

scheme, and opportunity to conceal the fact that they were operating such a scheme [i.e., the

CSFS]” 65 and note that also “scienter can be inferred”        66
                                                                    from a litany of facts, direct and

circumstantial, which are here assumed to be true, including the assets, monetary benefits, and

profits ultimately obtained by SHRG from the acquisition of FOG, 67 embracing and adopting the

fraudulent schemes (both the PNFS and the CSFS), 68 that Thatch had manifest knowledge of the

PNFS and the CSFS and that they were illegal, 69 that the Plaintiffs would never be remunerated

their investments or equity interests, 70 and that he took efforts to conceal the CSFS and the PNFS

from Plaintiffs, 71 as well as the SEC and the investing public. 72




62
   Id.
63
   In re Key Energy Services, 166 F. Supp. 3d at 833.
64
   See Compl. at Count 2, ¶¶ 146(a) (allegations as to all defendants establishing motive), (b), c(x)),
and factually supported further at ¶¶ 72-100.
65
   Compl. at ¶ 146.
66
   Compl. at ¶ 146.
67
   Compl. at ¶ 146(a).
68
   Compl. at ¶ 146(a).
69
   Compl. at ¶ 146 (c(x)).
70
   Compl. at ¶ 146 (c(x)).
71
   Compl. at ¶ 146 (c(x)).
72
   Compl. at ¶¶ 100, 110. Plaintiffs’ Count 2 also incorporated the detailed factual allegations of
the CSFS by reference in the Scienter subsection of this claim. Id. at ¶ 146(b).
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       Plaintiffs’ allegations more than meet the scienter-pleading requirements required in this

District, and Thatch’s fraudulent intent may be inferred, because they establish Thatch’s motive

[and opportunity] to commit securities fraud (e.g., secreting the schemes from Plaintiffs, the SEC

and the investing public, as well as reaping profits from the acquisition of FOG). Plaintiffs’ have

also satisfied the scienter pleading requirements by adequately pleading facts establishing strong

circumstantial evidence of severe recklessness, as well as alleging circumstances indicating and

corroborating conscious behavior on the part of Thatch in this regard.

                     c. Plaintiffs have adequately pled reliance and proximate cause.

       While Thatch’s Motion addresses Plaintiffs’ alleged failure to adequately plead reliance

and proximate cause in the context of common law fraud (and he incorporates those arguments

and authorities in the securities fraud context), 73 Plaintiffs address those arguments here, which

are equally applicable to Plaintiffs’ reliance and proximate cause arguments in the context of their

other causes of action, unless noted otherwise.

       Thatch’s reliance and proximate cause arguments (in the context of common law fraud and

otherwise) are predicated upon the misconception that Plaintiffs’ allegations against him are

directed solely to his “indication of no irregularities” in connection with Plaintiffs’ investments as

part of the PNFS. 74 As pointed out above, this is not the case and not how Plaintiffs’ case is pled.

Plaintiffs’ fraud and fraud-based claims directed to Thatch are not limited as such and arise

primarily from Thatch’s actionable silence, omissions, and nondisclosures of material facts—




73
   Motion at 12-13 (addressing reliance in the context of common law fraud), 14 (addressing
proximate cause in the context of common law fraud), 15 (addressing reliance and proximate cause
“as demonstrated above”).
74
   See Motion at 12-14.
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omissions that were so misleading as to constitute a “positive misrepresentation of fact[s].” 75 In

fact, Thatch argues nothing (and cites no authority) in support of his reliance and proximate cause

arguments in the context of actionable omissions.

       “Courts in Texas have uniformly held that ‘reliance is ordinarily a question of fact. . .and

is not a proper matter for dismissal on the pleadings.’” 76 The law is clear that a party satisfies its

pleading requirements (under both Rules 9 and 12(b)(6)), and that a party sufficiently alleges it

relied on the other party’s omission to its detriment, thus proximately causing harm, when it pleads:

(1) that the omission(s) were a substantial factor in the harm without which no harm would have

occurred; and (2) that the harm was foreseeable to a person of ordinary intelligence. 77 Justifiable

reliance is also sufficiently pled when the record (here, the Complaint’s allegations, considered as

a whole and in a light most favorable to plaintiff), show the plaintiff “(1) actually relied on the

information; and (2) the reliance was reasonable.” 78 Allegations of reliance may also be

conclusory, because “this is inherently true of reliance allegations,” one either relied or did not. 79




75
   Mora v. Koy, CIV.A. H-12-3211, 2013 WL 2289887, at *3 (S.D. Tex. May 23, 2013) (internal
Texas citations omitted); see also In re Enron Corp. Sec., Derivative & "ERISA" Litig., 238 F.
Supp. 3d 799, 820 (S.D. Tex. 2017), aff'd sub nom. Lampkin v. UBS Fin. Services, Inc., 925 F.3d
727 (5th Cir. 2019) (“A duty to disclose arises only from ‘a fiduciary or other similar relation of
trust and confidence between [parties]. . .’”) (internal citations omitted and emphasis added).
76
   In re Enron Corp. Sec., Derivative & “ERISA” Litig., 540 F. Supp. 2d 759, 772 (S.D. Tex. 2007)
(citing 1001 McKinney Ltd. v. Credit Suisse First Boston Mortg. Capital, 192 S.W.3d 20, 30 (Tex.
App. 2005) ).
77
   In re Enron Corp. Sec., Derivative & ERISA Litig., 623 F.Supp.2d 798, 811-813 (S.D. Tex.
2009).
78
   Janvey v. Willis of Colorado Inc., 2014 WL 12670763 (N.D. Tex. Dec. 5, 2014), citing Collins
v. Morgan Stanley Dean Witter, 224 F.3d 496, 501-02 (5th Cir. 2000).
79
   Steiner v. Southmark Corp., 734 F. Supp. 269 (N.D. Tex. 1990). See also In re Enron Corp.
Securities, Derivative & ERISA Litig., 2010 WL 9077875 (S.D. Tex. Jan. 19, 2010), holding that
“To determine whether reliance is justifiable, the courts must ask, given the plaintiff’s individual
characteristics, abilities, and appreciation of the facts and circumstances at or before the time of
the alleged fraud, it is extremely unlikely that there was actual reliance by the plaintiff” (i.e.,
recognizing a presumption in favor of reliance at the pleading stage).
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       Plaintiffs have satisfied these pleading standards, with allegations of both individual and

general reliance. 80 Plaintiffs would simply point out that they have set forth specific allegations

of reliance and proximate cause (as well as damages) directed to Thatch’s conduct for their Count

2 securities fraud cause of action (which were incorporated by reference in their causes of action

for statutory fraud, common law fraud and fraud by non-disclosure), thus refuting Thatch’s

arguments that Plaintiffs’ insufficiently pled the elements of reliance and proximate cause. 81

                        1. Plaintiffs’ allegations of Texas statutory fraud (Count 3).

         Plaintiffs’ Complaint also contains sufficient factual matter to state a claim for statutory

 fraud under TEX. BUS. & COM. CODE § 27.01(a, d). To survive a motion to dismiss a claim for

 statutory fraud, Plaintiffs need only allege: (1) there was a transaction involving real estate or

 stock in a corporation; (2) during the transaction, the defendant made a false representation of a

 past or existing material fact, a false promise, or benefited by not disclosing a third party’s

 representation or promise was false; (3) the representation or promise was made to induce the

 plaintiff to enter into a contract; (4) the plaintiff relied on the representation or promise by

 entering into the contract; and (5) the plaintiff’s reliance caused injury. 82

         As with other species of fraud, a Texas statutory fraud claim may be predicated upon a

 party’s omissions. 83 While Thatch only gives short shrift to his arguments seeking dismissal of

 Count 3, and simply relies on its arguments addressing Plaintiffs’ common law fraud claims



80
   See, e.g., Compl. at Count 2, ¶¶ 139(a), 140(a-c), 142-144.
81
   See Compl. at Count 2, ¶¶ 142-144 (proximate cause and reliance), 145, 147-148 (damages) and
factually supported further at ¶¶ 72-100; see also Compl. at Count 3 (statutory fraud), ¶¶ 158-159,
Count 4 (common law fraud) ¶¶ 172-173, Count 5 (fraud by nondisclosure) ¶ 187 .
82
   See generally TEX. BUS. & COM. CODE § 27.01 (a), (d); see also Wash Techs. of Am. Corp. v.
Pappas, 05-16-00633-CV, 2018 WL 718550, at *6–7 (Tex. App.—Dallas Feb. 6, 2018, pet.
denied) (Upholding jury finding a party liable for the misrepresentations of a third party that were
adopted or ratified by the party).
83
   See, e.g., In re Enron Corp, 490 F. Supp. 2d at 822.
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 (arguments that completely ignore Plaintiffs’ allegations of Thatch’s silence, omission and

 nondisclosures, which are set out above), Thatch also ignores the operative language of Section

 27.01(d) that provides that a party may be held liable for failing to disclose the falsity of

 representations made by others – here, at a minimum, those representations made by his co-

 conspirators and co-defendants Oblon, Brock, and Bollinger. 84

        Plaintiffs satisfy this standard, because the Complaint alleges Thatch is liable for

 statutory fraud on grounds that: (1) Thatch made what is tantamount to a false representation by

 omitting both past and then-existing material facts, 85 and also (2) that Thatch benefited from the

 false representations of at least Defendants Oblon, Brock, and Bollinger and by not disclosing

 that the representations made to Plaintiffs by co-conspirators and co-defendants Oblon, Brock

 and Bollinger were false, 86 and that Thatch’s silence, omissions, and nondisclosures are

 actionable because he failed to inform Plaintiffs that his co-conspirators’ statements and

 omissions were false. 87

                       2. Plaintiffs’ allegations of Texas common law fraud and fraud by
                          non-disclosure (Counts 4 and 5).

        Plaintiffs Complaint contains sufficient factual matter to state a claim for common law

 fraud and fraud by nondisclosure (Counts 4 and 5, respectively). The Texas Supreme Court has

 stated the elements of common law fraud as:

       (1) a material representation was made; (2) the representation was false; (3) when
       the representation was made, the speaker knew it was false or made it recklessly
       without any knowledge of the truth and as a positive assertion; (4) the speaker made
       the representation with the intent that the other party should act upon it; (5) the
       party acted in reliance on the representation; and (6) the party thereby suffered



84
   Motion at 17.
85
   See, e.g., Compl. at ¶¶ 92, 110, 137(a), 138, 140(a-c), 141.
86
   See, e.g., Compl. at ¶¶ 124(d), 130, 130(a), n.18, n.19, 146, 146(a), n.20, 153, 154, 217.
87
   See, e.g., Compl. at ¶¶ 92, 110, 137(a), 138, 140(a-c), 141, 154, 156, 158.
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       injury. 88
                                                                  89
       Fraud by nondisclosure is a subcategory of fraud.               The elements of fraud by

 nondisclosure are:

       (1) the defendant failed to disclose facts to the plaintiff, (2) the defendant had a
       duty to disclose those facts, (3) the facts were material, (4) the defendant knew the
       plaintiff was ignorant of the facts and the plaintiff did not have an equal opportunity
       to discover the facts, (5) the defendant was deliberately silent when it had a duty to
       speak, (6) by failing to disclose the facts, the defendant intended to induce the
       plaintiff to take some action or refrain from acting, (7) the plaintiff relied on the
       defendant’s nondisclosure, and (8) the plaintiff was injured as a result of acting
       without that knowledge. 90

       Each of these causes of action – as directed to Thatch – are predicated upon his actionable

silence, omissions, and nondisclosures, amply detailed in the Complaint and addressed in the

preceding paragraphs. As discussed above, Plaintiffs’ have alleged more-than-speculative, non-

conclusory facts that: (1) Thatch had actual knowledge of the PNSF, 91 (2) Thatch had actual

knowledge of the CSFS, 92 (3) that the CSFS was held out to Plaintiffs’ as an insider-trading

scheme, 93 (4) that the PNSF and the CSFS were unlawful and fraudulent, 94 (5) that Thatch was

one of the architects of the CSFS “plan,” 95 (5) that Thatch owed Plaintiffs duties to disclose true




88
   Italian Cowboy Partners, Ltd. v. Prudential Ins. Co. of Am., 341 S.W.3d 323, 337 (Tex. 2011)
(quoting Aquaplex, Inc. v. Rancho La Valencia, Inc., 297 S.W.3d 768, 774 (Tex. 2009)). Some
authorities set forth the elements of common law fraud to include the “concealment” or “omission”
of a material fact. See, e.g., In re Enron Corp., 490 F. Supp. 2d at 793-4 (citing several
authorities); see also American Tobacco Co. v. Grinnell, 951 S.W.2d 420, 435–37 (Tex. 1997)
(“Fraud may consist of both active misrepresentation and passive silence.”).
89
   Schlumberger Tech. Corp. v. Swanson, 959 S.W.2d 171, 181 (Tex. 1997).
90
   Blankinship v. Brown, 399 S.W.3d 303, 308 (Tex. App.—Dallas 2013, pet. denied).
91
   See, e.g., Compl. at ¶¶ 68-70, 107, 109, 112, 116, 130(a, c), n. 19, 137(b), 139(a), n.20, 146(a),
146 (c)(x).
92
   See, e.g., Compl. at ¶¶ 68-70, 76, 99, 107, 109, 112, 116, 130(a, c), n. 19, 137(b), 139(a), n.20,
146(c)(x).
93
   See, e.g., Compl. at ¶¶ 73, 82, 137(a).
94
   See, e.g., Compl. at ¶¶ 68, 76, 92, 99, 107, 109, 130(a), 137(b), 139(a), n.20, 146(c)(x).
95
   See, e.g., Compl. at ¶¶ 73, 75, 140(a-c).
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facts, 96 (6) the reasons why Thatch owed Plaintiffs such a duty, 97 and (7) that Thatch breached

those duties by his silence, omission, and nondisclosures for failing to disclose the true facts to

Plaintiffs knowing they were not aware of them and did not have an equal opportunity to discover

the truth due to his and other Defendants’ actions. 98

        These facts, as described more fully herein and alleged in Plaintiffs’ Complaint, easily

satisfy the pleading requirements of Rules 9(b) and 12(b)(6) and the decisional authorities of the

Fifth Circuit and this District.

                        3. Plaintiffs’ allegations of their fraud-related claims of unjust
                           enrichment, civil conspiracy, aiding and abetting and accounting
                           (Counts 6-9).

         For the reasons set forth above, Plaintiffs have more than adequately pleaded viable causes

 of action for their fraud-based claims. As a result, and contrary to Thatch’s suggestions

 otherwise, 99 because Plaintiffs’ fraud-based claims are sufficiently pleaded under Rule 12(b)(6)

 and Rule 9, so too are Plaintiffs’ claims of unjust enrichment, civil conspiracy, aiding and abetting,

 and accounting. Moreover, Thatch fails to recognize that he can be held independently liable for

 each of these fraud-related causes of action—even if he is not a primary actor in the actual

 fraudulent act itself—as a co-conspirator, 100 as one who aides and abets securities fraud, 101 and/or




96
   See, e.g., Compl. at ¶¶ 70, 92, 99, 100, 109, 140(a-c), 181-183.
97
   See, e.g., Compl. at ¶¶ 70, 92, 99, 100, 109, 140(a-c), 181-183.
98
   See, e.g., Compl. at ¶¶ 92, 110, 137(a), 138, 140(a-c), 141.
99
   Motion at 20.
100
    Eagle Metal Products, LLC v. Keymark Enterprises, LLC, 651 F. Supp. 2d 577, 591 (N.D. Tex.
2009) (“In Texas, conspiracy allegations, if shown, may extend liability beyond the primary actor
to others who agreed to act towards a common goal.”).
101
    See, e.g., Abbott v. Equity Group, Inc., 2 F.3d 613, 621 (5th Cir. 1993) (“Those who aid and
abet securities fraud are subject to Rule 10b–5 liability.”) (internal citations omitted); see also
Immobiliere Jeunesse Etablissement v. Amegy Bank Nat’l Ass’n, 525 S.W.3d 875, 882 (Tex.
App.—Houston [14th Dist.] 2017, no pet.).
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 as one who benefits from and is unjustly enriched from the fraudulent act of another. 102

                                         CONCLUSION

       The Plaintiffs’ allegations directed toward Thatch are neither conclusory, speculative, nor

a formulaic recitation of the elements of a federal securities fraud cause of action under Rule 10b-

5. Instead, they have, at a minimum, set forth enough facts to “raise a reasonable expectation that

discovery will reveal evidence of the necessary claims or elements” of this cause of action, thus

satisfying Rule 12(b)(6). Further, the Plaintiffs’ fraud-based allegations clearly set forth the

requisite facts to specify the type of facts Thatch omitted, the place in which the omissions should

have appeared, and the way in which the omitted facts made Thatch’s representations, as well as

his co-conspirators’ representations, misleading. Plaintiffs Complaint satisfies Rule 12(b)(6) and

Rule 9(b), and Thatch’s Motion should be denied.

       Respectfully submitted this the 5th day of February 2021.

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102
   Renwick v. Bonnema, CIV.A. 2:08-CV-337-TJW, 2009 WL 393967, at *2 (E.D. Tex. Feb. 13,
2009) (“A party may recover under an unjust enrichment theory ‘when one person has obtained a
benefit from another by fraud, duress, or the taking of undue advantage.’”), citing Heldenfel Bros.,
Inc. v. City of Corpus Christi, 832 S.W.2d 39, 41 (Tex.1992).
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                                CERTIFICATE OF SERVICE
       I certify that on February 5, 2021, a true and correct copy of the foregoing document was

served on all counsel of record through Court’s electronic filing system.

                                                            /s/ Brent Caldwell
                                                            Brent Caldwell




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